Case 3:23-cv-15676-LC-ZCB Document 1 Filed 06/21/23 Page 1 of 19




                                               3:23-cv-15676-LC-ZCB
Case 3:23-cv-15676-LC-ZCB Document 1 Filed 06/21/23 Page 2 of 19
Case 3:23-cv-15676-LC-ZCB Document 1 Filed 06/21/23 Page 3 of 19
Case 3:23-cv-15676-LC-ZCB Document 1 Filed 06/21/23 Page 4 of 19
Case 3:23-cv-15676-LC-ZCB Document 1 Filed 06/21/23 Page 5 of 19
Case 3:23-cv-15676-LC-ZCB Document 1 Filed 06/21/23 Page 6 of 19
Case 3:23-cv-15676-LC-ZCB Document 1 Filed 06/21/23 Page 7 of 19
Case 3:23-cv-15676-LC-ZCB Document 1 Filed 06/21/23 Page 8 of 19
Case 3:23-cv-15676-LC-ZCB Document 1 Filed 06/21/23 Page 9 of 19
Case 3:23-cv-15676-LC-ZCB Document 1 Filed 06/21/23 Page 10 of 19
Case 3:23-cv-15676-LC-ZCB Document 1 Filed 06/21/23 Page 11 of 19
Case 3:23-cv-15676-LC-ZCB Document 1 Filed 06/21/23 Page 12 of 19
Case 3:23-cv-15676-LC-ZCB Document 1 Filed 06/21/23 Page 13 of 19
Case 3:23-cv-15676-LC-ZCB Document 1 Filed 06/21/23 Page 14 of 19
Case 3:23-cv-15676-LC-ZCB Document 1 Filed 06/21/23 Page 15 of 19
Case 3:23-cv-15676-LC-ZCB Document 1 Filed 06/21/23 Page 16 of 19
Case 3:23-cv-15676-LC-ZCB Document 1 Filed 06/21/23 Page 17 of 19
Case 3:23-cv-15676-LC-ZCB Document 1 Filed 06/21/23 Page 18 of 19
Case 3:23-cv-15676-LC-ZCB Document 1 Filed 06/21/23 Page 19 of 19
